11/13/2018                            TUESDAY                                                                  Judge Trish M Brown
3:30 PM 17-3097 tmb ap                Andlovec et al v. Spoto
           17-31502                   Oral Ruling re Trial
                                      Jennifer Andlovec - pla                  ~TTHEW A GOLDBERG..-
                                     Lf:hristopher P Spoto - dft                VTERRANCE J SLOMINSKI

                                                                               ~ - ~lr-fA-15




Evidentiary Hearing:          Yes:    D             No:)2{'




Order to be prepared by:   D Clerk's Office D      ChambersJ       rlJL..¥---l-.!.'---"'S,:.:.;Ju::...•...;..'Yl~'..;,_n;_;s~k~,,1--I·_ _ _ _ _ _ _ _ __
OD3 - Dismissal Order
      #1 _ _ _ _ Settl~d _ _ _ _ (21) days.
                                                                   I
      #2    ~ . 5It>'"'" s k I                   to Prepare Judgement/order            /Y                  ~ays.

      #3 _ _ _ _ No answer _ _ _ _ (21) days.

OFRCP - Rule 26 Order
     #1 _ _ _ _ Planning Conf. by _ _ -_ _-_ _ / Conf. Report by _ _-_ _-_ _ .

       #2 _ _ _ _ Planning Conf. by _ _-_ _-_ _/ No report.

       #3
            - - - - Discovery can     proceed.

       #4 _ _ _ _ No Planning Conf./lnitial disclosures by _ _-_ _ -_ _ .

       #5 _ _ _ _ Discovery limited to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket Entry:


                                                                                    Run Date:                   11/13/18
                             Case 17-03097-tmb           Doc 73      Filed 11/13/18
